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                Exhibit 8
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                    Exhibit 2
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                     UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF LOUISIANA
                             ALEXANDRIA DIVISION

   JOHN FITZGERALD HANSON,

                             Plaintiff,

   v.                                              No. 1:25-CV-00102-DDD-JPM

   GENTNER DRUMMOND, et al.,
                             Defendants.


                     DECLARATION OF SARA PARKER MOONEY

         I, Sara Parker Mooney, declare the following under 28 U.S.C. § 1746, and state under

  penalty of perjury that the following is true and correct to the best of my knowledge and belief:

         1.     I am a retired Advanced Practice Registered Nurse (APRN), and I live in

                Sherman, Texas, just across the border from Oklahoma. I am 67 years old.

         2.     In 1999, John Hanson murdered Mary Bowles, my maternal aunt. My mother,

                Ora Lee Bowles Parker, was Mary’s youngest sister and the only surviving

                sibling at the time of Mary’s murder.

         3.     Mary was the daughter of proud Oklahoma homesteaders. She was a lifelong

                resident of Tulsa. She was a retired banker and a community volunteer. She

                was a mentor and role model for professional women. Mary was an active and

                valuable member of the community. She was the matriarch of our family. She

                was truly beloved.
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        4.    My relationship with Mary was not a typical aunt/niece relationship. Because

              my aunt did not have children, she was like a surrogate mother to me. She was

              very involved in the lives of my numerous cousins and their families.

        5.    Mary’s murder was terrible for my family, and particularly my mother. My

              mother was 75 years old when my aunt was murdered. At the time, Mary was

              in good health, whereas my mother was not. When we got the call that Mary

              was missing, my husband and I took my mother to Tulsa over the Labor Day

              Weekend to look for her. We worked with the police and local media to try to

              see if we could figure out what happened to her. Eventually, I had to take my

              mother back home, while we waited for information.

        6.    A week or so later, one of the detectives contacted me and said they had found

              what they believed to be Mary’s body, but they needed someone to identify her

              clothing. Her remains were in such bad shape that they did not think the family

              should view the body. My mother did not deal well with that. That part was

              very difficult for her. The condition of Mary’s body was such that a forensic

              anthropologist from the University of Oklahoma was consulted and provided

              testimony. The murder changed the balance of my mother’s life, to her

              detriment. She was never the same, afterward. She was never able to return to

              work, and she had to move from her home in Dallas to Sherman.

        7.    We were fully involved and engaged during the prosecution of Hanson. My

              mother was alive and was able to attend most legal proceedings, although she

              was in poor health. Before she died in 2008, my mother asked that I be


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